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 1    KEVIN A. DARBY, NVSB# 7670
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 6    tricia@darbylawpractice.com
      Attorneys for Debtor/Debtor in Possession
 7
 8                             UNITED STATES BANKRUPTCY COURT
 9                                    DISTRICT OF NEVADA

10    In re:                                              CASE NO.:     BK-N-20-50471-BTB
                                                          Chapter 11 Subchapter V
11
      ALY EATERY, INC,
12                                                        DECLARATION OF ALICIA
                                                          YOUNGBERG IN SUPPORT OF
13                      Debtors.                          MOTION TO ASSUME LEASE OF
                                                          NONRESIDENTIAL REAL PROPERTY:
14                                                        5015 S. MCCARRAN BLVD, RENO, NV
15                                                        89502

16                                                        Hearing Date: See Notice of Hearing
                                                          Hearing Time:
17    ______________________________________/

18             ALICIA YOUNGBERG, under penalty of perjury, states as follows:

19             1.    I am the sole officer, director and shareholder of the Debtor, Aly Eatery, Inc.

20             2.    On May 5, 2020, Debtor filed a voluntary petition for relief under Chapter 11

21   Subchapter V of the United States Bankruptcy Code.

22             3.    The Debtor owns and Subway Sandwiches franchised restaurant located at 5105 S.

23   McCarran Blvd., Reno, Nevada (the “Business Premises”).

24             4.    Debtor leases the Business Premises from Pacific Castle Management and/or

25   Subway Real Estate, LLC (collectively the “Landlord”) pursuant to the terms of a written lease

26   agreement dated August 29, 1990, a copy of which is attached to this declaration as Exhibit 1 (the

27   “Lease”).

28   ///
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 1           5.      Attached as Exhibit 2 to this declaration is the Seventh Amendment to the Lease,
 2   which extended the term of the Lease through January 31, 2022.
 3           6.      Monthly rent plus monthly common area maintenance fees currently average
 4   approximately $3,550 per month.
 5           7.      Debtor is current on all financial obligations under the Lease and will continue to
 6   timely remit all payments required under the Lease as they become due.
 7           8.      The Debtor, in its business judgment, has determined that the Lease is essential to
 8   Debtor’s business operations and successful reorganization. Debtor’s income is produced from the
 9   Business Premises and that property cannot be substituted or replaced. The Business Premises has
10   been recently improved and remodeled to meet the requirements of the Subway parent corporation
11   and requires no immediate repairs or maintenance.
12           9.      I believe the assumption of the Business Premises Lease is in the best interests of
13   the Debtor, its bankruptcy estate and its creditors
14           DATED this 5th day of May, 2020.
15
                                                       /s/ Alicia Youngberg
16                                                  ______________________________
                                                    ALICIA YOUNGBERG
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                             EXHIBIT 1




                             EXHIBIT 1
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        Case 20-50471-btb                                                                                 Doc 13                                                           Entered 05/05/20 15:38:18                                                                                                                                                                                                            Page 5 of 68
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                             EXHIBIT 2




                             EXHIBIT 2
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                                           SEVENTH AMENDMENT TO LEASE


                   THIS SEVENTH AMENDMENT TO LEASE (hereinafter this “Amendment”) is made and
            entered into this ____________________ (hereinafter the “Effective Date”) by and between
            ALTIS CARDINAL AJU SMITHRIDGE LLC, a Florida limited liability company (“Lessor”)
            and SUBWAY REAL ESTATE, LLC (“Lessee”).

                                                              RECITALS
                   A.      Altis Cardinal AJU Smithridge LLC is a successor of Meyer Smithridge 1996 LLC,
            a successor of Meyer Properties, a successor of Bay 511 Corporation. Any reference to the term
            “Lessor” includes Altis Cardinal AJU Smithridge LLC as successor Lessor. Subway Real Estate,
            LLC is a successor of Subway Real Estate Corp., a successor of Subway West, Inc., successor to
            Subway Real Estate Corp. Any reference to the term “Lessee” includes Subway Real Estate, LLC
            as successor Lessee.

                    B.      Lessor and Lessee entered into that certain Lease dated August 29, 1990, as
            amended by that certain Amendment to Lease dated January 9, 1991, as further amended by that
            certain Second Amendment to Lease dated July 3, 1995, as further amended by that certain Third
            Amendment of Lease dated December 29, 1997, as further amended by that certain Fourth
            Amendment of Lease dated August 23, 2000, as further amended by that certain Fifth Amendment
            of Lease dated November 25, 2003, as further amended by that certain Sixth Amendment to Lease
            dated August 5, 2011, as further modified by that certain letter agreement dated July 28, 2016
            (collectively, the “Lease”), pursuant to which Lessor leased and demised to Lessee, and Lessee
            leased from Lessor, those certain Premises containing 1,088 square feet, commonly known as 5015
            South McCarran Boulevard, Reno, Nevada, located within Smithridge Plaza.

                   C.      Lessor and Lessee mutually desire to modify and amend the Lease in accordance
            with the provisions contained hereinbelow.


                   NOW, THEREFORE, for considerations hereinafter mentioned, and for other good and
            valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Lessor and
            Lessee covenant and agree as follows:

                    1.      Representation and Warranty of the Parties. Each party hereby represents and
            warrants to the other party that, as of the date hereof, to its knowledge, the other party is in full
            compliance with all of such party’s obligations under the Lease and that such party has not breached
            any of its obligations thereunder. Lessee hereby agrees and acknowledges that, except as otherwise
            specifically set forth in the Work Letter Agreement attached hereto as Exhibit A and incorporated
            herein by this reference, Lessee’s occupancy of the Premises during the Renewal Term shall be
            based on the current “As Is” condition of the Premises.

                    2.     Extension of Term. Commencing on February 1, 2017, Lessor and Lessee hereby
            agree to extend, and hereby do extend the term of the Lease for an additional five (5) years, to and
            including January 31, 2022 (the “Renewal Term”).

                    3.      Monthly Rent. Commencing February 1, 2017, the Monthly Minimum Rent for the
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            Renewal Term shall be as follows and will be payable pursuant to the provisions of the Lease:

                            February 1, 2017 through January 31, 2018: Thirty-Four Thousand Four Hundred
                            Forty-Eight and 40/100 Dollars ($34,448.40) per year and Two Thousand Eight
                            Hundred Seventy and 70/100 Dollars ($2,870.70) per month.

                            The Monthly Minimum Rent provided for herein shall be adjusted annually
                            throughout the Lease Term, including the Option Term, as applicable, commencing
                            on February 1, 2018 and annually thereafter (each such date an "Adjustment Date").
                            On each Adjustment Date, the Monthly Minimum Rent will increase to an amount
                            equal to one hundred two percent (102%) of the Monthly Minimum Rent in effect
                            immediately preceding such Adjustment Date.

                    4.     Option to Renew. Provided that Lessee is not in default under this Lease and Lessee
            is occupying the entire Premises at the time of such election, Lessee shall have the right to one (1)
            extension of the Term of this Lease for a period of five (5) years (the “Option Term”) on the terms
            and conditions set forth in this paragraph 4. Any reference in this Lease to the “Term” shall be
            deemed to include the Option Term if validly exercised by Lessee. Lessee shall exercise such
            Option Term, if at all, by written notice to Lessor not earlier than twelve (12) months nor later than
            six (6) months before the expiration of the Renewal Term. The Option Term shall be on the same
            terms and conditions contained in this Lease, except as follows:

                            (a)     The Monthly Minimum Rent for the first year of the Option Term will be
                     increased to an amount equal to one hundred and two percent (102%) of the Monthly
                     Minimum Rent in effect immediately preceding such Option Term. On each annual
                     anniversary of the commencement date of such Option Term, the Minimum Monthly Rent
                     shall increase by two percent (2%);

                            (b)      Lessee shall have no further rights to extend the Lease Term; and

                           (c)     Lessor shall lease to Lessee the Premises in their then-current condition, and
                     Lessor shall not be responsible for any improvements or providing to Lessee any
                     allowances or other tenant inducements including, without limitation, moving allowance,
                     construction allowance, and the like.

                             Lessee’s rights under this paragraph 4 shall, at Lessor’s election, terminate if: (i) this
            Lease or Lessee’s right to possession of any of the Premises is terminated, (ii) Lessee assigns any of
            its interest in this Lease or sublets any portion of the Premises except as permitted in the Lease, or
            (iii) Lessee fails to timely exercise its extension option hereunder, time being of the essence with
            respect to Lessee’s exercise thereof.

                    5.      Miscellaneous.

                           (a)     This Amendment shall be binding upon, and shall inure to the benefit of Lessor
                    and Lessee and their respective heirs, executors, personal representatives, administrators,
                    successors and assigns.

                           (b)     This Amendment represents the complete understanding between the parties
                    hereto as to the subject matter hereof, and supersedes all prior negotiations, representations,
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                    warranties, promises, statements or amendments, either oral or written, among the parties hereto
                    as to the subject matter hereof.

                           (c)     This Amendment may only be amended by a written instrument executed by
                    both Lessor and Lessee.

                            (d)    This Amendment may be executed by the parties hereto in separate counterparts,
                    all of which when delivered, shall together constitute one and the same instrument.

                            (e)      Except as expressly modified hereby, the Lease shall remain unamended and in full
                    force and effect and is hereby ratified and confirmed by the parties hereto.

                            (f)      The faxed or e-mailed signature of any party shall be binding upon such party.

                          (g)    Except as otherwise defined herein, all capitalized terms herein shall have the
                    same meaning as defined in the Lease.


                                                  [Signatures on following page]




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                        IN WITNESS WHEREOF, the parties have signed and sealed this Amendment to Lease
               as of the day and year first above written.

                                                        LESSEE:

                                                        SUBWAY REAL ESTATE, LLC,
                                                        a Delaware limited liability company


                                                                 By:

                                                                 Its: Duly Authorized

                                                                 Name: Christopher J. Kan

                                                                 Date: __________________________________


                                                        LESSOR:

                                                        ALTIS CARDINAL AJU SMITHRIDGE LLC,
                                                        a Florida limited liability company


                                                                 By:

                                                                 Its:

                                                                 Name:

                                                                 Date: __________________________________
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                                                             EXHIBIT A

                                              WORK LETTER AGREEMENT

               A.      Lessor’s Work. Lessor is leasing the Premises to Lessee “as is,” without any
               obligation to alter, remodel, improve, repair or decorate any part of the Premises.

               B.      Allowance for Cost of Work.

                       1. Lessee shall be entitled to a one-time tenant improvement allowance (the
               “Allowance”) in the amount of Ten Thousand and 00/100 Dollars ($10,000.00) for the costs
               relating to the initial design and construction of the Lessee’s Work (defined below). In no
               event shall Lessor be obligated to make disbursements pursuant to this Work Letter in a total
               amount which exceeds the Allowance. Lessor shall only be obligated to make disbursements
               pursuant to this Work Letter for the cost of Lessee’s Work, described herein below. In the
               event the final cost of the Lessee’s Work is less than the Allowance, the remaining balance
               of the Allowance may be used by Lessee as a credit toward its rental obligations under the
               Lease.

                       2. Subject to the provisions of this Work Letter, within thirty (30) days following
               completion of Lessee’s Work, Lessor shall reimburse Lessee for the actual and documented
               costs and expenses paid by Lessee for completion of Lessee’s Work, which reimbursement
               shall be in an amount up to, but not exceeding the Allowance, provided that: (i) Lessee
               delivers to Lessor a request for payment, in a form to be approved by Lessor, detailing the
               Lessee’s Work that was completed; (ii) Lessee delivers evidence of all paid invoices from all
               of Lessee’s contractors and suppliers for labor rendered and materials delivered to the
               Premises for Lessee’s Work; (iii) Lessee delivers to Lessor properly executed final lien
               releases; (iv) Lessor has determined that no substandard Lessee’s Work exists which
               adversely affects the mechanical, electrical, plumbing, HVAC, life-safety or other systems of
               the Premises, common areas or building of which the Premises is a part; (v) Lessee’s
               architect delivers to Lessor a certificate, in a form reasonably acceptable to Lessor, certifying
               that the construction of Lessee’s Work in the Premises has been substantially completed in
               accordance with the final Drawings and Specifications; and (vi) Lessee delivers all other
               information reasonably requested by Lessor.

                       3. Any payment by Lessor shall not be deemed Lessor’s approval or acceptance of
               the Lessee’s Work, as furnished or materials supplied as set forth in Lessee’s payment
               request.

               C.      Lessee’s Work.

                       1. Generally. All work required to complete and place the Premises in finished
               condition for opening of business shall be performed by Lessee at Lessee's sole cost and
               expense with all due diligence, which work shall hereinafter be referred to as "Lessee's
               Work", and Lessee agrees to commence Lessee's Work within thirty (30) days following
               the Effective Date of this Amendment.

                       2. Applicable Law. The project is being developed under the jurisdiction of the
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               City of Reno, County of Washoe, State of Nevada, and federal safety codes. All design
               and construction work shall comply with all applicable statutes, ordinances, regulations,
               laws and codes, and Lessor's design criteria for Lessee's Work previously delivered to
               Lessee. Notwithstanding anything herein to the contrary, Lessee shall not commence any
               work on the Premises at any time during any early occupancy period or the Term,
               including Lessee's Work, without first complying with Lessee's Alteration, as set forth
               below:

                     UPON EXECUTION OF THIS AMENDMENT, LESSEE ACKNOWLEDGES THAT LESSOR MAY
               EXECUTE A NOTICE OF NON-RESPONSIBILITY AND MAY RECORD THE SAME WITHIN THREE (3)
               DAYS OF EXECUTION OF THIS AMENDMENT PURSUANT TO NEVADA REVISED STATUTES
               ("NRS") 108.234. LESSEE FURTHER AGREES THAT, AT LEAST TEN (10) DAYS PRIOR TO
               ENTERING INTO CONTRACT WITH ANY PRIME CONTRACTOR INTENDING TO PERFORM
               ALTERATIONS, AND PRIOR TO THE COMMENCEMENT OF ANY WORK RELATING TO THE
               PREMISES, LESSEE SHALL COMPLY WITH THE REQUIREMENTS OF NRS 108.2403 AND NRS
               108.2407 REGARDING POSTED SECURITY, SHALL PROVIDE LESSOR WITH EVIDENCE OF SUCH
               COMPLIANCE, AND SHALL NOTIFY LESSOR IN WRITING OF THE NAME AND ADDRESS OF ANY
               SUCH PRIME CONTRACTOR TO ENABLE LESSOR TO PROPERLY SERVE THE RECORDED NOTICE
               OF NON-RESPONSIBILITY UPON THE PRIME CONTRACTOR PURSUANT TO NRS 108.234.
               LESSEE HEREBY ACKNOWLEDGES THAT LESSEE IS REQUIRED TO COMPLY WITH THE TERMS OF
               THIS PARAGRAPH AND THE PROVISIONS OF NRS 108.2403 AND (TO THE EXTENT LESSEE
               ESTABLISHES A CONSTRUCTION DISBURSEMENT ACCOUNT PURSUANT TO NRS 108.2403)
               108.2407 PRIOR TO COMMENCEMENT OF ANY WORK OF IMPROVEMENT TO BE CONSTRUCTED,
               ALTERED OR REPAIRED ON THE PREMISES (SUCH OBLIGATIONS ARE COLLECTIVELY REFERRED
               TO AS THE "LESSEE'S ALTERATION OBLIGATIONS").

                                                                              ___________________
                                                                              LESSEE'S INITIALS

               Where conflict exists between building codes, utility regulations, statutes, ordinances,
               other regulatory requirements and Lessor's requirements, as set forth herein, the more
               stringent of the requirements shall, at Lessor's option, govern.

                       3. Licenses and Permits. All permits, licenses and approvals for Lessee's Work
               shall be obtained by Lessee or its contractor prior to the commencement of construction
               and shall be posted in a prominent place within the Premises as required by the agency
               issuing the permit.

                      4. Approval of Plans. Lessor's written approval shall be obtained by Lessee prior to
               submitting plans for purposes of obtaining any required governmental permit or approval,
               and the undertaking of any construction work which deviates from Lessee's Drawings and
               Specifications, as approved by Lessor, or the undertaking of any modifications whatsoever
               to Lessor's building shell and/or utilities and other work not explicitly shown on said
               Drawings and Specifications. Lessor's approval of the foregoing shall not constitute the
               assumption of any responsibility by Lessor for the accuracy or sufficiency thereof, and
               Lessee shall be solely responsible therefor.
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                      5. Contractors. All contractors engaged by Lessee shall be bondable, licensed
               contractors, possessing good labor relations, capable of performing quality workmanship
               and working in harmony with Lessor's general contractor and other contractors on the job.
               All work shall be coordinated with the general project work.

                       6. Field Conditions. Lessee shall inspect, verify and coordinate all field conditions
               pertaining to the Premises from time to time prior to the start of its store design work,
               through its construction, including its fixturing and merchandising. Lessee shall advise
               Lessor immediately of any discrepancies with respect to Lessor's drawings. Any
               adjustments to the work arising from field conditions, not apparent on Lessee's drawings
               and other building documents, shall require the prior written approval of Lessor. Lessor
               reserves the right to require changes in Lessee's Work when necessary by reason of code
               requirements or building facility necessity, field conditions, or directives of governmental
               authorities having jurisdiction over the Premises, or directives of Lessor's insurance
               underwriters.

                      7. Public Safety. Lessee shall confine the construction work to within the
               Premises as much as possible and shall work in an orderly manner removing trash and
               debris from the project on a daily basis. At no time will pipes, wires, boards or other
               construction materials cross public areas where harm could be caused to the public. The
               requirements of "Occupational Safety and Health Administration" (OSHA) prepared by the
               Department of Labor will govern. If Lessee fails to comply with these requirements,
               Lessor may cause remedial action as deemed necessary by Lessor to protect the public.
               All costs of said remedial action shall be charged to Lessee and shall become Lessee's
               responsibility.

                       8. Lessee Damage to Construction. Lessee will be required to furnish the
               necessary ramps, coverings, etc., to protect Lessor's facilities and adjoining premises from
               damage. All costs to repair damage to Lessor's facilities and to adjoining premises will be
               at the expense of Lessee. Actual repair work may be accomplished by Lessor at Lessor's
               option.

                       9. Drawings and Specifications.

                              (a) Within thirty (30) days of the Effective Date of this Amendment,
               Lessee shall prepare and submit to Lessor for approval an interior completion plan, design
               drawings, working drawings and specifications necessary to complete Lessee's Work
               (“Drawings and Specifications”). As soon as practicable after receipt of such Drawings
               and Specifications, Lessor shall return to Lessee such Drawings and Specifications with its
               suggested modifications and/or approval. If, upon receipt of Lessor's modified Drawings
               and Specifications, Lessee wishes to take exception thereto, Lessee may do so within
               five (5) days from the date on which Lessee receives Lessor's modified Drawings and
               Specifications. Unless such action is taken by Lessee, it will be deemed that all
               modifications made by Lessor on the Drawings and Specifications are acceptable to and
               adopted by Lessee.

                              (b) Upon Lessor's approval in all respects of all such Drawings and
               Specifications, Lessee shall cause Lessee's Work to be diligently completed and installed
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               or such installations or alterations to be performed, as the case may be, in accordance with
               the Drawings and Specifications approved by Lessor, and no deviation from said Drawings
               and Specifications shall be made without Lessor's prior written approval. Lessee shall
               obtain all necessary permits in connection with the installation of such Lessee
               improvements and the performance of such work prior to the commencement of any work.

                                (c) If Lessee's Work entails any structural changes to the Premises, Lessee
               shall submit detailed structural plans, and Lessor's review of such plans shall be at Lessee's
               expense, provided that such expense shall not exceed One Thousand and 00/100 Dollars
               ($1,000.00). Moreover, Lessee shall not be permitted to commence any Lessee's Work
               until all plans applicable thereto have been approved in writing by Lessor.

                               (d) At any time during the Lease Term, any and all modifications by
               requiring alterations to the architectural, mechanical, electrical, fire protection or structural
               systems will require Lessee to supply detailed working drawings and appropriate
               calculations covering those modifications to Lessor for written approval. Interior painting,
               wall covering, carpeting and placement of movable trade fixtures are considered normal
               maintenance items and do not require Lessor approvals, but otherwise meet the
               requirements of this Work Letter. All other alterations require Lessor's written approval.

                              (e) Lessor's approval or inspection of any of Lessee's plans, shop drawings,
               etc., so submitted is made for identification purposes only and neither Lessor, nor its
               agents, servants or employees shall have any liability in any respect to any inadequacies,
               deficiencies, errors or omissions or non-complying features contained in any or all of
               Lessee's preliminary plans or final plans or Lessor's comments in respect to same.

               D.      Insurance. Lessee shall secure, pay for and maintain or cause its contractor(s) to
               secure, pay for and maintain during the construction of Lessee’s Work and any periods of
               construction performed by Lessee during the Lease Term, the following insurance in the
               following amounts, which shall be endorsed in all policies to include Lessor and its
               beneficiaries, employees and agents as insured parties, and which shall provide in all
               policies that Lessor shall be given thirty (30) days' prior written notice of any alteration or
               termination of coverage in the amounts as set forth below, and such insurance as may from
               time to time be required from city, county, state or federal laws, codes, regulations or
               authorities, together with such other insurance as is reasonably necessary or appropriate
               under the circumstances:

                      1. Lessee and Lessee's general contractor and subcontractor(s) required minimum
               coverages and limits of liability:

                              (a) Worker's Compensation as required by state law and Employer's
               Liability Insurance with limits of not less than One Million and 00/100 Dollars
               ($1,00,000.00) and any insurance required by any employee benefit acts or other statutes
               applicable where the work is to be performed as will protect the contractor and
               subcontractors from any and all liability under the aforementioned acts.

                              (b) Comprehensive General Liability Insurance (including Contractor's
               Protective Liability) with a combined single limit (bodily injury and property damage) of
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               not less than Two Million and 00/100 Dollars ($2,000,000.00) per occurrence and in the
               aggregate. Such insurance shall provide for explosion, collapse and underground coverage
               and contractual liability coverage and shall insure the general contractor and/or
               subcontractors against any and all claims for personal injury, including death resulting
               therefrom, and damage to the property of others and arising from his operations under the
               contract, whether such operations are performed by the general contractor, subcontractors
               or any of their subcontractors, or by anyone directly or indirectly employed by any of
               them.      Such insurance policy shall include (i) a products/completed operations
               endorsement; (ii) endorsements deleting the employee exclusion on personal injury and the
               liquor liability exclusion; and (iii) a cross-liability endorsement or a severability of interest
               clause. Such insurance shall be primary and Lessor's insurance shall be excess insurance
               only.

                               (c) Comprehensive Automobile Liability Insurance, including the
               ownership, maintenance and operation of any automotive equipment, owned, hired and
               non-owned in an amount not less than Two Million and 00/100 Dollars ($2,000,000.00)
               combined single limit (bodily injury and property damage) per occurrence and in the
               aggregate. Such insurance shall insure the general contractor and/or subcontractors against
               any and all claims for bodily injury, including death resulting therefrom, and damage to the
               property of others arising from his operations under the contract, whether such operations
               are performed by the general contractor, subcontractor or any of their subcontractors, or by
               anyone directly employed by any of them.

                              (d) Builder's Risk Insurance -- Completed Value Builder's Risk Damage
               Insurance Coverage or similar course of construction coverage. Lessee shall provide an
               "All Physical Loss" Builder's Risk insurance policy on the work to be performed for
               Lessee in the Premises as it relates to the building within which the Premises are located.
               The policy shall include as insureds Lessee, its contractor and subcontractors, and Lessor,
               as their respective interests may appear within the Premises and within one hundred
               feet (100') thereof. The amount of insurance to be provided shall be one hundred
               percent (100%) replacement cost.

                       2.     All such insurance policies required under this Exhibit, except as noted
               above, shall include Lessor, Lessor's agents and beneficiaries, Lessor's on-site
               representatives, Lessor's architect, and Lessor's general contractor, as additional insureds;
               except Worker's Compensation Insurance, which shall contain an endorsement waiving all
               rights of subrogation against Lessor, Lessor's architect and Lessor's general contractor,
               Lessor's agents and beneficiaries.

                      3.      The insurance required under this Exhibit shall be in addition to any and all
               insurance required to be provided by Lessee pursuant to the Lease.

               E.     Trash Removal. During the construction, fixturing and merchandise stocking of the
               Premises, Lessee shall provide trash removal at areas designated by Lessor. It shall be the
               responsibility of Lessee and Lessee's contractors to remove all trash and debris from the
               Premises on a daily basis and to break down all boxes and place all such trash and debris in
               the containers supplied for that purpose. If trash and debris are not removed on a daily
               basis by Lessee or Lessee's contractor, then Lessor shall have the right to remove such
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               trash and debris or have such trash and debris removed at the sole cost and expense of
               Lessee.

               F.      At Completion of Lessee's Work. Lessee will provide Lessor with the following
               within thirty (30) days following substantial completion of Lessee’s Work:

                       1.       A Certificate of Occupancy prior to opening for business.

                      2.     Unconditional Waivers of Liens and Sworn Statements in such form as may
               be required by Lessor from all persons performing labor and/or supplying materials in
               connection with such work showing that all parties have been paid in full.

                       3.      Submission by Lessee to Lessor of detailed breakdown of Lessee's final and
               total construction costs, together with receipted invoices showing payment thereof.

                       4.     Submission by Lessee to Lessor of warranties for not less than one (1) year
               against defects in workmanship, materials and equipment as required in this Exhibit.

                      5.       Submission by Lessee of a statement wherein Lessee agrees to indemnify
               Lessor against any and all liens against the Premises or any claims by any materials
               suppliers, contractors, or subcontractors.

                       6.       Lessee shall furnish a copy of the License to do Business.

                       7.       "As-Built" Drawings of all permanent Lessee Work performed.

                     8.         Recordation of a validly recorded Notice of Completion pursuant to NRS
               108.228.
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Certificate Of Completion
Enve ope Id: BB79E11BC6DA4DCC9D1580EE2533EBB4                                        Status: Comp eted
Subject: SUBWAY - DEV - Store# 10118 Amendment for Execut on
Source Enve ope:
Document Pages: 10                             S gnatures: 2                         Enve ope Or g nator:
Cert f cate Pages: 3                           In t a s: 1                           Mon ca Rem szewsk
AutoNav: Enab ed                                                                     325 Sub Way
Enve opeId Stamp ng: Enab ed                                                         M ford, CT 06461
T me Zone: (UTC-05:00) Eastern T me (US & Canada)                                    rem szewsk m@subway.com
                                                                                     IP Address: 65.215.93.238

Record Tracking
Status: Or g na                                Ho der: Mon ca Rem szewsk             Locat on: DocuS gn
        26-Aug-16 09:04                                  rem szewsk m@subway.com

Signer Events                                  Signature                             Timestamp
Chr stopher J. Kan                                                                   Sent: 26-Aug-16 09:10
kan c@subway.com                                                                     V ewed: 26-Aug-16 09:41
Du y Author zed                                                                      S gned: 26-Aug-16 09:41
Secur ty Leve : Ema , Account Authent cat on
(None)                                         Us ng IP Address: 65.215.93.238


E ectron c Record and S gnature D sc osure:
   Accepted: 26-Aug-16 09:41
   ID: a1a158ec-b1e7-48a7-ac5f-b712f0a2a16d

Frank Guerra                                                                         Sent: 26-Aug-16 18:17
fguerra@a t s c.com                                                                  V ewed: 26-Aug-16 18:18
Manager                                                                              S gned: 26-Aug-16 18:18
Secur ty Leve : Ema , Account Authent cat on
(None)                                         Us ng IP Address: 76.110.73.30


E ectron c Record and S gnature D sc osure:
   Accepted: 26-Aug-16 18:18
   ID: d21fb669-fca4-432b-a562-e894998a0c62


In Person Signer Events                        Signature                             Timestamp

Editor Delivery Events                         Status                                Timestamp

Agent Delivery Events                          Status                                Timestamp

Intermediary Delivery Events                   Status                                Timestamp

Certified Delivery Events                      Status                                Timestamp

Carbon Copy Events                             Status                                Timestamp
Megan Fogarty                                                                        Sent: 26-Aug-16 18:17
mfogarty@ho andhart.com                                                              V ewed: 28-Aug-16 12:57
Secur ty Leve : Ema , Account Authent cat on
(None)
E ectron c Record and S gnature D sc osure:
   Accepted: 26-Aug-16 18:10
   ID: e4e2ed3e-7afc-4be3-a270-cd1c3893f8ea


Notary Events                                                                        Timestamp
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Envelope Summary Events                  Status                               Timestamps
Enve ope Sent                            Hashed/Encrypted                     26-Aug-16 18:17
Cert f ed De vered                       Secur ty Checked                     26-Aug-16 18:18
S gn ng Comp ete                         Secur ty Checked                     26-Aug-16 18:18
Comp eted                                Secur ty Checked                     26-Aug-16 18:18

Electronic Record and Signature Disclosure
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Electronic Signature Disclosure
Franchise World Headquarters, LLC (we, us or our) may be required by local law to provide you
certain written disclosures and documents related to communicating electronically. Please read
the following information. By proceeding forward and checking the I AGREE box you are
agreeing that you have reviewed the following electronic signature disclosure and consent to
transact business using electronic communications and to utilize electronic signatures in lieu of
using paper documents. Moreover, by checking such box in connection with this disclosure, you
confirm that you can access and read this electronic consent to electronic receipt of documents
for execution; and you can print, save or send this disclosure to a place for future reference and
access.
Scope of Consent: This electronic signature service is provided by DocuSign, Inc. (DocuSign) on
our behalf. You agree to receive electronic notices, disclosures, authorizations,
acknowledgements and electronic signature documents with all related documents provided over
the course of your relationship with us through your DocuSign Express user account (Account),
as permitted by local law. Use of DocuSign and your Account requires a Windows 2000 or
Windows XP operating system, Internet Explorer 6.0, Mozilla FireFox 1.0, NetScape 7.2 or
above web-browser, 800 x 600 screen resolution, access to a valid email account and Adobe or
similar software to view PDF documents. Moreover, users accessing the internet behind a Proxy
Server must enable HTTP 1.1 settings via proxy connection and allow per session cookies. These
minimum requirements are subject to change.
Withdrawing Consent: You may withdraw your consent to receive electronic documents at any
time. In order to withdraw consent you must notify us that you wish to withdraw consent and to
provide your future documents in paper format. To indicate to us that you wish to withdraw
consent, you must use the DocuSign Withdraw Consent form on the signing page of your
Account. Once consent is withdrawn, you will no longer be able to use your Account to receive
electronic documents or sign documents electronically.
Paper Copies: You are not required to receive documents or sign documents electronically and
may request paper copies of documents at any time. You also have the ability to download and
print any documents we send you through your Account for a limited period of time (usually 30
days) after such documents are first sent to you. If you wish to receive paper copies in lieu of
electronic documents you may request paper copies from us by following the procedures
outlined below. We may charge you a fee for the paper copies.
Requesting paper copies, withdrawing consent and updating contact information: To request
paper copies of documents, withdraw consent to conduct business electronically or update your
contact information please contact us by telephone, postal mail, or by sending an email to
SubwayDocusignAdmin@subway.com with the following subjects:
Requesting Paper Copies. Please provide your name, email address, telephone number, postal
address, document title and franchise number.
Withdraw Consent. Please provide your name, email address, telephone number, postal address,
document title and franchise number.
Update Contact Information. Please provide your name, email address, telephone number, postal
address, document title and franchise number.
We may charge you a fee in connection with your request for paper copies or withdrawal of your
consent.
